

Renwick v Mitchell (2023 NY Slip Op 05995)





Renwick v Mitchell


2023 NY Slip Op 05995


Decided on November 21, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2023

Before: Manzanet-Daniels, J.P., Kapnick, Oing, Pitt-Burke, Higgitt, JJ. 


Index No. 26859/20E Appeal No. 1057 Case No. 2022-04796 

[*1]Richard Renwick, Plaintiff-Respondent,
vJhamal A. Mitchell et al., Defendants-Appellants, Michael R. Liriano, Defendant-Respondent.


Law Office of Eric D. Feldman, New York (Evy L. Kazansky of counsel), for appellants.
Harris Keenan &amp; Goldfarb PLLC, New York (Yamile Kalkach of counsel), for Richard Renwick, respondent.
Law Office of Dennis C. Bartling, Melville (Jill Dabrowski of counsel), for Michael R. Liriano, respondent.



Order, Supreme Court, Bronx County (Bianka Perez, J.), entered October 12, 2022, which denied defendants Jhamal A. Mitchell and Starfire Industries Inc.'s motion for summary judgment dismissing the complaint and cross-claims as against them, unanimously affirmed, without costs.
Mitchell and Starfire failed to establish their entitlement to summary judgment because they did not submit evidence showing that they were free from negligence as a matter of law, nor did they submit evidence showing that any alleged negligence by defendant Michael R. Liriano was the sole cause of the accident (see Harrigan v Sow,165 AD3d 463, 464 [1st Dept 2018]). Furthermore, Mitchell's and Liriano's conflicting deposition testimony created questions of fact as to defendants' liability (see Colon v Woolco Foods Inc., 177 AD3d 498, 498 [1st Dept 2019]), and credibility issues are reserved for the factfinder's consideration (see Bliss v State of New York, 95 NY2d 911, 913 [2000]; Acevedo v Morton W. Assoc., 227 AD2d 280, 281 [1st Dept 1996]).
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2023








